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                         UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION

 DONALD JOHNSON,
                                                  Case No. 2:20-cv-13114-BAF-APP
       Plaintiff,
 v.                                               Honorable Bernard A. Friedman

 FRANKLIN COLLECTION SERVICE,
 INC.,

      Defendant.


              AGREED STIPULATION OF DISMISSAL WITH PREJUDICE

       IT IS HEREBY STIPULATED AND AGREED by and between the Plaintiff, DONALD

JOHNSON, and the Defendant, FRANKLIN COLLECTION SERVICE, INC., through

their respective counsel that the above-captioned action is dismissed, on the merits and with

prejudice, against, FRANKLIN COLLECTION SERVICE, INC., pursuant to Federal Rule of

Civil Procedure 41. Each party shall bear its own costs and attorney fees.

Dated: April 16, 2021                                Respectfully Submitted,

DONALD JOHNSON                                       FRANKLIN COLLECTION SERVICE,
                                                     INC.
/s/ Nathan C. Volheim                                /s/ Justin M. Penn (with consent)
Nathan C. Volheim                                    Justin M. Penn
Counsel for Plaintiff                                Counsel for Defendant
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                                  CERTIFICATE OF SERVICE

          I hereby certify that I today caused a copy of the foregoing document to be electronically

filed with the Clerk of Court using the CM/ECF system which will be sent to all attorneys of

record.



                                                              /s/ Nathan C. Volheim
                                                              Nathan C. Volheim
